                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     at WINCHESTER

  LUCILLE P. ELLIS,                              )
                                                 )
  Plaintiff,                                     )
                                                 )        Case No. 4:17-cv-7
  v.                                             )
                                                 )        Judge Mattice
  STATE AUTO PROPERTY AND                        )
  CASUALTY INSURANCE CO.,                        )        Magistrate Judge Steger
                                                 )
  Defendant.                                     )
                                                 )

                                               ORDER

         It appearing unto this Court by the signatures of counsel, (see Doc. 10), that the

  parties are in agreement. It is therefore,

         ORDERED, ADJUDGED, and DECREED by this Court that this case is

  hereby DISMISSED WITHOUT PREJUDICE. Each party shall bear their own

  attorney fees and costs.



         SO ORDERED this 14th day of March, 2017.



                                                        /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE




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